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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK


 JGIAP RH 160 LLC                                  Case No. 1:21-cv-2489-DG-JRC
                        Plaintiff,
                                                   Judge Diane Gujarati
         vs.
                                                   Magistrate Judge James R. Cho

 CRI HOLDING CORP., TOURAJ
 NAGHIEH, MORALI AND ASSOCIATES,
 ANTHONY MORALI, JOSEPH MORALI,
 MANDA INTERNATIONAL
 CORPORATION, STRIKEFORCE
 MECHANICAL CORPORATION, AND
 ANGELO CORRAO
                        Defendants.


                                     JOINT STATUS REPORT

       PLEASE TAKE NOTICE that Plaintiff and Defendants (collectively, “the Parties”), by and

through their undersigned counsel, file this Joint Status Report pursuant to the Court’s Order dated

October 19, 2021.

       On October 4, 2021, all parties participated in a court mandated settlement conference

before Magistrate Judge James R. Cho. The parties were unsuccessful in coming to any settlement

in this matter.

       On October 19, 2021, all parties participated in a follow up settlement conference before

Magistrate Judge James R. Cho. The parties again were unsuccessful in coming to any agreement

on settlement.

       On October 19, 2021, the Court ordered the parties to continue discussing settlement

privately and to inform the Court of settlement status.
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      At this time, the parties do not believe that further settlement discussions would be

productive and ask that the Court renew the defendants’ premotion conference letters.

Respectfully submitted this 19th day of November, 2021.

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